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 6                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
 7

 8 UNITED STATES OF AMERICA,                       2:15-CR-127-MMD-VCF

 9                Plaintiff,                       Forfeiture Order

10         v.

11 TERRY WILLIAMSON,

12                Defendant.

13         This Court finds Terry Williamson was found guilty of Count 1 of an 81-Count
14 Superseding Indictment charging him with conspiracy to commit mail and wire fraud in

15 violation of 18 U.S.C. §§ 1341, 1343, and 1349. Superseding Indictment, ECF No. 5;

16 Minutes of Jury Trial, ECF No. 529; Jury Verdict, ECF No. 530.

17         The in personam criminal forfeiture money judgment is any property, real or
18 personal, which constitutes or is derived from proceeds traceable to violations of 18 U.S.C.

19 §§ 1341 and 1343, specified unlawful activities as defined in 18 U.S.C. §§ 1956(c)(7)(A) and

20 1961(1)B), or 18 U.S.C. § 1349, conspiracy to commit such offenses, and is subject to

21 forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) with 28 U.S.C. § 2461(c).

22         This Court finds and holds the government proved by a preponderance of the
23 evidence that Terry Williamson obtained, acquired, possessed, used, controlled, or

24 professionally and personally benefited from the $1,936,641.99.

25        This Court finds Terry Williamson shall pay an in personam criminal forfeiture
26   money judgment of $1,936,641.99 to the United States of America, to be held jointly and
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          Case 2:15-cr-00127-MMD-VCF Document 693 Filed 10/20/20 Page 2 of 3



 1   severally liable with any codefendants and the collected money judgment amount between

 2   the codefendants is not to exceed $1,936,641.99 pursuant to Fed. R. Crim. P. 32.2(b)(1) and

 3   (b)(2); 18 U.S.C. § 981(a)(1)(C) with 28 U.S.C. § 2461(c); and 21 U.S.C. § 853(p).

 4          In the alternative, this Court finds that if Honeycutt does apply to 18 U.S.C. §

 5   981(a)(1)(C) with 28 U.S.C. § 2461(c), this Court finds Terry Williamson shall pay an in

 6   personam criminal forfeiture money judgment of $1,936,641.99 to the United States of

 7   America, not to be held jointly and severally liable with any codefendants and the collected

 8   money judgment amount between the codefendants is not to exceed $1,936,641.99 pursuant

 9   to Fed. R. Crim. P. 32.2(b)(1) and (b)(2); 18 U.S.C. § 981(a)(1)(C) with 28 U.S.C. § 2461(c);

10   and 21 U.S.C. § 853(p).

11          This Court finds that on the government’s motion, the Court may at any time enter

12   an order of forfeiture or amend an existing order of forfeiture to include subsequently

13   located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and

14   32.2(b)(2)(C).

15          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

16   the United States recover from Terry Williamson the in personam criminal forfeiture money

17   judgment of $1,936,641.99 pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (b)(4)(B); 18

18   U.S.C. § 981(a)(1)(C) with 28 U.S.C. § 2461(c); and 21 U.S.C. § 853(p).

19          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

20   copies of this Order to all counsel of record and three certified copies to the United States

21   Attorney’s Office, Attention Asset Forfeiture Unit.

22                 October 20
            DATED _____________________, 2020.

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25                                               MIRANDA M. DU
                                                 UNITED STATES DISTRICT JUDGE
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 1                               CERTIFICATE OF SERVICE

 2         A copy of the foregoing was served upon counsel of record via Electronic Filing on

 3   October 20, 2020.

 4                                                          /s/ Heidi L. Skillin
                                                            HEIDI L. SKILLIN
 5                                                          FSA Contractor Paralegal
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